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14

15                               UNITED STATES DISTRICT COURT
16                          NORTHERN DISTRICT OF CALIFORNIA
17

18    Jenny Houtchens and Samantha                   CASE NO.
19    Ramirez, individually, and on behalf
      of those similarly situated,                   CLASS ACTION COMPLAINT
20
                           Plaintiffs,               Demand for Jury Trial
21
             v.
22
      Google LLC,
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24                         Defendant.

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                                       Plaintiffs Jenny Houtchens and Samantha Ramirez (“Plaintiffs”) bring this
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                            2    action on behalf of themselves, and all others similarly situated against Defendant

                            3    Google LLC (“Google” or “Defendant”) for the manufacture, distribution, and sale of
                            4
                                 the Fitbit smartwatch (the “Product” or “Products”). 1 Plaintiffs make the following
                            5
                                 allegations pursuant to the investigation of their counsel and based upon information
                            6
                                 and belief, except as to the allegations specifically pertaining to themselves, which is
                            7

                            8    based on personal knowledge:

                            9
                                                                 NATURE OF ACTION
                            10
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                                                                      "Don’t be evil."
                            11                                              ...
                            12                  “And remember... don’t be evil, and if you see something
                                                        that you think isn’t right – speak up!”
                            13
                                                                         Google2
                            14

                            15         1.     This is a class action complaint against Defendant for the manufacture,
                            16
                                 distribution, marketing, and sale of the Products, all of which suffer from an identical
                            17
                                 defect in design. Specifically, the Products are prone to burning users during use and
                            18
                                 create the potential for a burn or fire hazard. Smartwatches that pose such a hazard
                            19

                            20   are unreasonably dangerous compared to the utility of the Product. Moreover, such a

                            21   defect can render the Products unusable during periods of overheating. As such, this
                            22
                                 defect rendered the Products unsuitable for its principal and intended purpose.
                            23

                            24

                            25   1 At the time of this filing, the following Fitbit products are included in this
                                 definition: Versa, Versa 2, Versa 3, Charge 4, Versa Light, Ionic, Sense, Alta HR,
                            26   Inspire, Inspire HR, Inspire 2, and Blaze. This definition is not exhaustive, and shall
                                 include all of Defendant’s products that are similarly defective.
                            27   2 Archived version of previous version of Google Code of Conduct,
                                 https://web.archive.org/web/20180421105327/https://abc.xyz/investor/other/google-
                            28   code-of-conduct.html and Google Code of Conduct,
                                 https://abc.xyz/investor/other/google-code-of-conduct/.
                                                                              –1–
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                                 Further, had Plaintiffs been aware of this serious defect, they would not have
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                            2    purchased the Product, or would have paid significantly less for it.

                            3          2.     On March 2, 2022, Defendant in conjunction with the United States
                            4
                                 Consumer Product Safety Commission (“CPSC”) announced a voluntary recall of
                            5
                                 approximately 1,700,000 units of Defendant’s Fitbit Ionic smartwatch due to the
                            6
                                 prevalent nature of the defect (the “Ionic Recall”).3
                            7

                            8          3.     While one of the Products - the Fitbit Ionic smartwatch – was recalled,

                            9    the same defect exists throughout all of the Products.
                            10
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                                       4.     In fact, the defect has been present in all of the Products for years.
                            11
                                       5.     Defendant fails to acknowledge this, and instead places the blame on
                            12
                                 one “bad apple” to avoid liability and diminished sales for the “whole bunch.”
                            13

                            14         6.     Unfortunately, the defect permeated – unknowingly to consumers –

                            15   throughout all of the Products which led (and currently leads) to unneeded physical
                            16
                                 injury and economic harm.
                            17
                                       7.     When consumers contact Fitbit about the safety risk, the company
                            18
                                 attempts to “wash away” the harm it caused by shifting the blame to consumer
                            19

                            20   hygiene rather than focusing on the true culprit: the company’s defective Products.

                            21         8.     Because Defendant continues to reap its spoils, and gives the false
                            22
                                 impression that the Products are safe, Defendant exposes this risk to millions of
                            23
                                 Americans every day while also knowingly selling consumers defective Products that
                            24

                            25   are worth less than represented.

                            26

                            27   3 Allen St. John, Fitbit Recalls 1.7 Million Ionic Smartwatches Due to Burn Hazard,
                                 CONSUMER REPORTS (Mar. 2, 2022),
                            28   https://www.consumerreports.org/smartwatch/Fitbit-recalls-ionic-smartwatches-due-
                                 to-burn-hazard-a1122765473/.
                                                                             –2–
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                                       9.      In fact, once the truth is exposed the devices are worthless to most
                            1

                            2    consumers. In many instances, they are thrown away or stored in a closet.

                            3          10.     Reasonable consumers, like Plaintiffs, purchase the Products to burn
                            4
                                 calories – not their skin – and to safely pursue a healthy lifestyle with the aid of a
                            5
                                 smartwatch.
                            6
                                       11.     Additionally, Defendant’s failure to admit that the defect impacts all of
                            7

                            8    the Products – rather than just the Ionic – exposes millions of airline passengers

                            9    every day to undue risk because the FAA prohibits passengers from traveling with
                            10
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                                 damaged or recalled batteries.4
                            11
                                       12.     Moreover, Google’s “recall” of the Fitbit Ionic fails to fully compensate
                            12
                                 the owners of the Ionic. It is a mere facade to show that Defendant is “doing the right
                            13

                            14   thing,” but in fact, the recall merely protects Defendant’s profits by suppressing

                            15   refunds by using methods and techniques that make it difficult for consumers to
                            16
                                 receive compensation for their defective watches. As one consumer summarized:
                            17

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                            20
                            21         13.     Plaintiffs bring their claims against Defendant individually and on
                            22
                                 behalf of a class of all other similarly situated purchasers of the Product for (i)
                            23
                                 violations of the consumer protection statutes for states included in a Multi-State
                            24

                            25   Consumer Class; (ii) violations of California’s Unfair Competition Law; (iii) violation

                            26   of California’s False Advertising Law; (iv) violation of California’s Consumer Legal

                            27

                            28   4FEDERAL AVIATION ADMINISTRATION, PackSafe for Passengers,
                                 https://www.faa.gov/hazmat/packsafe/#damaged.
                                                                        –3–
                                                                   CLASS ACTION COMPLAINT
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                                 Remedies Act; (v) violation of Pennsylvania’s Unfair Trade and Consumer Protection
                            1

                            2    Law; (vi) breach of implied warranty; (vii) violation of the Magnuson-Moss Warranty

                            3    Act; and (viii) unjust enrichment.
                            4
                                                                      PARTIES
                            5
                                       14.    Plaintiff Jenny Houtchens is, and at all times relevant to this action has
                            6
                                 been, a resident of Pennsylvania and a domiciliary of Pennsylvania. On or about
                            7
                                 December of 2020, Ms. Houtchens purchased a Fitbit Versa Light smartwatch from
                            8
                            9    Amazon.com which was shipped to her home in Monroe County, Pennsylvania. Ms.

                            10   Houtchens purchased the Product because she believed it was fit for use as a
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                            11
                                 smartwatch for her teenage daughter. However, the Product that Ms. Houtchens
                            12
                                 purchased was not fit for use as a smartwatch due to the Product’s risk of overheating
                            13
                                 and burning users. Ms. Houtchens’ belief that the smartwatch was fit for its intended
                            14

                            15   purpose formed the basis of the bargain, and Ms. Houtchens would not have

                            16   purchased the Product or would have paid significantly less for the Product had she
                            17
                                 known that the Product was unfit to perform its intended purpose.
                            18
                                       15.    Plaintiff Samantha Ramirez is, and at all times relevant to this action
                            19
                                 has been, a resident of California and a domiciliary of California. On or about
                            20
                            21   November of 2021, Plaintiff purchased a Fitbit Versa 2 smartwatch from a Walmart

                            22   store located in Stockton, California. Ms. Ramirez purchased the Product because she
                            23
                                 believed it was fit for use as a smartwatch. However, the Product that Ms. Ramirez
                            24
                                 purchased was not fit for use as a smartwatch due to the Product’s risk of
                            25

                            26   overheating. Ms. Ramirez’s belief that the smartwatch was fit for its intended

                            27   purpose formed the basis of the bargain, and Ms. Ramirez would not have purchased

                            28

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                                                                  CLASS ACTION COMPLAINT
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                                 the Product or would have paid significantly less for the Product had she known that
                            1

                            2    the Product was unfit to perform its intended purpose.

                            3          16.     The Products that Plaintiffs purchased began to malfunction shortly
                            4
                                 after purchase because the Product would overheat during use which caused burning
                            5
                                 of the wrist for Ms. Ramirez and the daughter of Ms. Houtchens.
                            6
                                       17.     Plaintiffs suffered economic injury from the Products’ defect because
                            7

                            8    they purchased an item that was worth less than what had been represented to them.

                            9          18.     Defendant Google LLC is a Delaware limited liability company with its
                            10
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                                 principal place of business in Mountain View, California. From its California
                            11
                                 headquarters, Defendant produces, markets and distributes its Products in retail
                            12
                                 stores across the United States including stores physically located in the State of
                            13

                            14   California and within this district. The engineering, marketing, sales, and recall

                            15   decisions described herein were made from its offices located within the State of
                            16
                                 California.
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                                                             JURISDICTION AND VENUE
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                            2           19.    This Court has subject matter jurisdiction over this action pursuant to

                            3    28 U.S.C. § 1332(d) because there are more than 100 class members and the
                            4
                                 aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees, and
                            5
                                 costs, and at least one Class member is a citizen of a state different from Defendant.
                            6
                                        20.    This Court has general personal jurisdiction over Defendant because
                            7

                            8    Defendant has its principal place of business in this District.

                            9           21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because it
                            10
                                 is a judicial District in which Defendant resides.
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                            11
                                                             DIVISIONAL ASSIGNMENT
                            12
                                        22.    Pursuant to Civil Local Rule 3-2(c-d), a substantial part of the events
                            13

                            14   giving rise to the claims arose in Santa Clara County, and this action should be

                            15   assigned to the San Jose Division.
                            16
                                                         COMMON FACTUAL ALLEGATIONS
                            17

                            18          A.     Defendant Manufactures, Markets, Distributes and Sells the
                                               Products
                            19
                                        23.    Defendant manufactures, markets, distributes, and sells Fitbit
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                                 smartwatches throughout the United States.
                            21
                                        24.    On October 31, 2019, Defendant announced that it was going to acquire
                            22
                                 Fitbit for $2.1 Billion.5
                            23
                                        25.    In January 2021, Defendant completed the acquisition of Fitbit.6
                            24

                            25

                            26   5 Daisuke Wakabayashi and Adam Satariano, Google to Buy Fitbit for $2.1 Billion,
                                 THE NEW YORK TIMES (Nov. 1, 2019),
                            27   https://www.nytimes.com/2019/11/01/technology/google-fitbit.html.
                                 6 Alphabet Inc. Form 10-K for 2021, at 74
                            28   https://abc.xyz/investor/static/pdf/20220202_alphabet_10K.pdf?cache=fc81690 (filed
                                 Feb. 1, 2022).
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                            1           26.    When Google acquired Fitbit, it claimed that the deal was “about
                            2    devices, not data,”7 but that has not been the case.
                            3           27.    While Google offers millions of dollars in bounties to solve software
                            4    vulnerabilities,8 it offers no bounty for the critical defect that has plagued the
                            5    Products for years.
                            6           28.    Despite its “expertise in engineering” 9 and knowledge of this defect,
                            7    Defendant continues to manufacture, distribute, and sell faulty smartwatches as part
                            8    of its “family of helpful devices.” 10
                            9

                            10          B.     The Product Defect
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                            11          29.    The Products are made with a design defect that causes the Products to
                            12   overheat and poses a significant hazard for burns and fires (hereinafter, the “Product
                            13   Defect” or “Defect”).
                            14          30.    The Product Defect was substantially likely to materialize during the
                            15   useful life of the Product.
                            16          31.    Moreover, for many users, the Defect occurs within months of initial use.
                            17          32.    The Defect involves the battery and charging system of the Products.
                            18          33.    Millions of units containing this Defect were sold throughout the United
                            19   States to consumers in all fifty states and Washington, D.C. at a purchase price
                            20   ranging from approximately $100 to $350 per unit.
                            21          34.    The Defect at issue here involves a critical safety-related component of
                            22   the Products, and it is unsafe to use the Product with the design defect.
                            23          35.    Defendant has knowledge of the defect, which was not known by
                            24   Plaintiffs or Class Members prior to purchase.
                            25   7 Rick Osterloh, Google completes Fitbit acquisition, THE KEYWORD (Jan. 14, 2021),
                            26   https://blog.google/products/devices-services/Fitbit-acquisition/.
                                 8 Liam Tung, Google increases its bug bounty for Fitbit and Nest security flaw, ZDNet

                            27   (April 6, 2022), https://www.zdnet.com/article/google-increases-its-bug-bounty-for-
                                 Fitbit-and-nest-security-flaws/.
                            28   9 Alphabet Inc. Form 10-K 2021, supra note 6 at 29.
                                 10 Id. at pg. 2.

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                            1          36.    Prior to the March 2022 Recall of the Fitbit Ionic, Defendant has never
                            2    admitted that the Defect existed.
                            3          37.    Rather, when consumers presented their devices to Defendant that were
                            4    impacted by the Defect, Defendant would refuse to replace, refuse to admit the Defect
                            5    existed, claim that the device was no longer covered by the warranty, and often try to
                            6    sell them a new device.
                            7          38.    For example:
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                            16         39.    Moreover, when consumers try to raise these issues and concerns on the
                            17   official Fitbit forum, Defendant’s agents and employees actively remove posts:
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                            24         40.    Defendant made partial representations to Plaintiffs and Class
                            25   Members, while suppressing the safety defect. Specifically, by displaying the Product
                            26   and describing its features, the product packaging implied that the Product was
                            27   suitable for use as a smartwatch, without disclosing that it had a critical safety-
                            28   related defect that could result in harm to users of each Product.

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                            1          41.    Additionally, Defendant fails to inform consumers that the Defect is
                            2    present in all of the Products – not just the recently recalled Ionic model.
                            3          42.    Consumers expected the Products to give them enhancements to their
                            4    health, not injuries that can take multiple weeks to heal:
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                            10                The Defect is Present in all of the Products.
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                                       C.
                            11
                                       43.    The Defect is not limited to the Ionic model.
                            12
                                       44.    Rather, it is present in all of the Products.
                            13

                            14         45.    For years, there has been a consistent denial of the Defect’s presence in

                            15   the Products which has only led to greater danger to the public. For example, one
                            16   Fitbit Sense user was harmed when the battery overheated and exploded:
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                                       46.    At a minimum, the Fitbit Versa 2, Fitbit Versa, Fitbit Charge 4, Fitbit
                            1

                            2    Versa Light, Fitbit Ionic, Fitbit Sense, Fitbit Alta HR, Fitbit Inspire, Fitbit Inspire

                            3    HR, and Fitbit Blaze all have the same Defect.
                            4
                                       47.    Yet, Defendant only claims the Defect exists in the Fitbit Ionic.
                            5
                                       48.    When consumers describe the Defect in other models, Defendant denies
                            6
                                 its presence in the non-Ionic devices:
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                            20         49.    Numerous reports and consumer experience prove otherwise:

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                                              a.     Fitbit Inspire HR:11
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                                 11U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20200428-
                            28   BC67C-2147372667 (April 28, 2020),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1975780.
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                                             b.   Fitbit Charge 4:12
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                            5                c.   Fitbit Versa Light:13

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                            9                d.   Fitbit Alta HR:14
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                                             e.    Fitbit Versa:
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                                 12 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20210730-38966-
                            25   2147361482 (July 30, 2021),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=3397669.
                            26   13 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20210115-27871-
                                 2147366491 (Jan. 15, 2021),
                            27   https://www.saferproducts.gov/PublicSearch/Detail?ReportId=2979994.
                                 14 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20201229-
                            28   D5EA8-2147367102 (Dec. 29, 2020),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=2951667.
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                                        f.    Fitbit Sense:
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                                        g.    Fitbit Versa 2:
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                                        h.    Fitbit Versa 3:
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                                        i.    Fitbit Blaze:
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                                              j.       Fitbit Inspire:
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                                              k.       Fitbit Inspire 2:
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                            17         50.    Defendant’s failure to admit that the Defect is present in all of the
                            18
                                 Products continues to not also endanger consumers but also leave consumers with
                            19
                                 Products that are worthless due to the presence of the Defect.
                            20
                            21         51.    For example, children are at risk from these Products, and parents are

                            22   now stuck with smartwatches that have no value to them nor do they want to sell
                            23   them to another person that could be harmed. Instead, they are either thrown away
                            24
                                 or stashed in a closet. The harm is real, and as one mother pleads for Google to admit
                            25
                                 the Defect’s presence, correct its behavior, and compensate for the harm it caused and
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                            27   continues to cause:

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                            14         52.    Google’s denial creates undue risk, danger, and harm throughout all
                            15
                                 aspects of everyday life. This danger is ever-present. Thus the Defect removes all
                            16
                                 utility from the Products.
                            17

                            18         D.     The Fitbit Ionic Recall
                            19         53.    The Fitbit Ionic was launched in August 2017 as the company’s flagship
                            20   product.15
                            21         54.    Despite Fitbit’s investment and marketing efforts – including the use of
                            22   celebrity spokespeople like Harrison Barnes – the Ionic failed to hit the company’s
                            23   targets and failed to perform in the marketplace.16
                            24         55.    As Fitbit co-founder James Park described: 17
                            25
                                 15 FITBIT, Fitbit Launches Ionic, the Ultimate Health and Fitness Smartwatch (Aug.
                            26   28, 2017), https://investor.Fitbit.com/press-releases/press-release-details/2017/Fitbit-
                                 Launches-Ionic-the-Ultimate-Health-and-Fitness-Smartwatch/default.aspx.
                            27   16 Id.
                                 17 Jason Cipriani, Q&A: Fitbit CEO James Park talks about the company's past,
                            28   present, and future, ZDNet (April 16, 2018), https://www.zdnet.com/article/q-a-Fitbit-
                                 ceo-james-park-talks-about-the-companys-past-present-and-future/.
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                            1                 ZDNet: Why do you think Ionic didn't do as well as you had hoped?
                            2                 Park: I think it really wasn't appealing to the mass audience. It's a
                            3                 performance-oriented watch with a lot of features from GPS to the
                            4                 introduction of new sensors, along with the form factor which is
                            5                 more performance orientated.
                            6          56.    In other words, it was “a disappointment.”18
                            7          57.    Before the first anniversary of its launch, it was already being outsold by
                            8    Fitbit’s other smartwatches.19
                            9          58.    In 2020, production of the Fitbit Ionic stopped.20
                            10         59.    The once “strongest and lightest GPS watch” 21 that represented Fitbit’s
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                            11   “most advanced design”22 had diminished so far in value to the company, that it failed
                            12   to be merit a mention in Fitbit’s Third Quarter Earnings Press Release published in
                            13   November 2020.23
                            14         60.    When Google’s acquisition of Fitbit was finalized in January 2021, the
                            15   announcement by Google’s Senior VP of Devices & Services mentions numerous Fitbit
                            16   models but fails to name the Ionic.24
                            17         61.    In December 2021, Defendant stopped selling the Fitbit Ionic.25
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                                 18 Todd Haselton, The latest Fitbit can’t match up to the Apple Watch, CNBC (Oct. 1,
                                 2017), https://www.cnbc.com/2017/09/29/fitbit-ionic-review-not-as-good-as-an-apple-
                            21   watch.html.
                                 19 Aaron Pressman, Fitbit Finally Has Another Hit on Its Customers’ Wrists,

                            22   FORTUNE (June 4, 2018), https://fortune.com/2018/06/04/Fitbit-versa-one-million/.
                                 20 U.S. Consumer Product Safety Commission, Fitbit Recalls Ionic Smartwatches Due
                            23   to Burn Hazard; One Million Sold in the U.S. (March 2, 2022),
                                 https://www.cpsc.gov/Recalls/2022/Fitbit-Recalls-Ionic-Smartwatches-Due-to-Burn-
                            24   Hazard-One-Million-Sold-in-the-U-S.
                                 21 Fitbit, supra note 15.
                            25   22 Id.
                                 23 Fitbit, Fitbit Reports Third Quarter Results for the Three Months Ended October 3,
                            26
                                 2020 (Nov. 4, 2020), https://investor.Fitbit.com/press-releases/press-release-
                            27   details/2020/Fitbit-Reports-Third-Quarter-Results-for-the-Three-Months-Ended-
                                 October-3-2020/default.aspx.
                            28   24 Osterloh, supra note 7.
                                 25 U.S. Consumer Product Safety Commission, supra note 20.

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                            1           62.    In March 2022, Defendant announced a recall of the long discontinued
                            2    Fitbit Ionic.26
                            3           63.    The Fitbit Ionic recall covered over 1,000,000 defective units in the
                            4    United States.27
                            5           64.    Planned since 2019,28 the long-developed Fitbit Ionic 2 is anticipated to
                            6    launch in 2022.29
                            7           E.     Defendant’s Recall Is Inadequate
                            8           65.    While the Defect exists – and has existed for many years – throughout
                            9    all of the Products, the Defendant’s feigned recall attempt focuses solely on the Fitbit
                            10   Ionic – a device that hasn’t been produced since 2020 and hasn’t been sold since 2021.
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                            11          66.    In other words, rather than fixing the defect, telling the truth to
                            12   consumers, and protecting consumers that trusted in the company, Google merely
                            13   places the blame on a long deactivated device.
                            14          67.    Further, this feigned recall “conveniently” aligns with the expected
                            15   launch of the Fitbit Ionic 2 – the Ionic’s replacement that has been in development
                            16   since at least 2019.
                            17          68.    In this “recall,” the Defendant finally admitted that the Ionic contains
                            18   the Defect – something that has long been denied by Defendant.
                            19          69.    However, Defendant fails to admit that the Defect exists throughout all
                            20   of the Products.
                            21          70.    In fact, it denies it: “These incidents are very rare and this voluntary
                            22   recall does not impact other Fitbit smartwatches or trackers.”30
                            23
                                 26 Id.
                            24   27 Id.
                                 28 Hugh Langley, Fitbit Ionic 2 is happening, WAREABLE (Mar. 6, 2019),
                            25
                                 https://www.wareable.com/Fitbit/Fitbit-ionic-2-release-date-price-specs-7047.
                            26   29 James Rogerson, Fitbit Ionic 2: here's everything we know so far, TECHRADAR
                                 (Jan. 24, 2022), https://www.techradar.com/news/Fitbit-ionic-2.
                            27   30 Sam Whiting, This Fitbit watch is getting recalled because its battery can overheat
                                 and cause serious burns, SAN FRANCISCO CHRONICLE (Mar. 2, 2022),
                            28   https://www.sfchronicle.com/bayarea/article/This-Fitbit-watch-is-getting-recalled-
                                 because-its-16969666.php.
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                            1            71.     These denials expose millions of American passengers to potentially
                            2    dangerous outcomes that fly each day.
                            3            72.     The FAA prohibits passengers from traveling with damaged or recalled
                            4    batteries.31
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                                         73.     While passengers might be informed that their Ionic is defective, they
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                            10   are oblivious that the other Products suffer the Defect.
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                            11           74.     As a result, a passenger acting under this belief might wear one of the
                            12
                                 non-recalled Products, walk through the TSA checkpoint and board the aircraft
                            13
                                 simply because the Versa 2 on their wrist was not recalled.
                            14
                                         75.     The recall of the Fitbit Ionic fails for additional reasons.
                            15

                            16           76.     The recall was due to a serious injury and safety hazard associated with

                            17   the Products. Specifically, it was admitted that the Ionic model had a Defect in design
                            18
                                 and materials that caused the smartwatch to overheat. This resulted in numerous
                            19
                                 reports of burns and injuries associated with the Defect.
                            20
                                         77.     The Fitbit Ionic recall has been inadequate for consumers.
                            21

                            22           78.     The recall allowed Defendant to say it was doing right by its customers,

                            23   but in fact the recall protected Defendant’s profits by suppressing refunds by using
                            24
                                 methods and techniques, including but not limited to:
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                            26                  a.     Failing to address previous owners that suffered from the Defect

                            27                         yet no longer physically possessed the smartwatch;

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                                 31   FEDERAL AVIATION ADMINISTRATION, supra note 4.
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                            1          b.    Failing to inform the consumers that the Products they may select
                            2                 as a replacement to the Fitbit Ionic suffer from the same Defect;
                            3          c.     Representing a “full refund,” but hiding the true terms behind
                            4                 barriers;
                            5          d.     Forcing consumers to use multiple third party platforms - that
                            6                 each have additional, onerous terms and confusing procedures
                            7                 within – as the mechanism to obtain compensation under the
                            8                 recall;
                            9          e.     Failing to have an adequate infrastructure to conduct the recall;
                            10         f.     Failing to provide adequate communication options for consumers;
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                            11         g.     Failing to timely deliver the refunded compensation;
                            12         h.     Failing to respond to legitimate consumer complaints regarding
                            13                the deficiencies present in the recall;
                            14         i.     Actively removing consumer complaints about the recall process
                            15                on its official platforms including but not limited to the forum on
                            16                its official website;
                            17         j.     Failing to notify consumers with an adequate recall notice which
                            18                properly informs consumers of the defect;
                            19         k.     Providing a recall remedy that was grossly insufficient because it
                            20                fails to compensate consumers for the purchase of a dangerous
                            21                and defective product;
                            22         l.     Failing to fully compensate consumers for accessories,
                            23                applications, and other Fitbit related products and services that
                            24                can no longer be used;
                            25         m.     Failing to fully compensate consumers because the recall remedy
                            26                did not provide for statutory damages and other relief owed to
                            27                consumers.
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                            1     79.   The recall’s inadequacy is impacting consumers throughout the country:
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                            1          80.    The problems described above still persist today. For example, all of
                            2    these complaints are within the last 72 hours:
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                            1          81.    Thus, as numerous Class Members have described herein, Defendant’s
                            2    recall fails to adequately address the Product Defect.
                            3          F.     Defendant’s Pre-Sale Knowledge of the Defect
                            4          82.    Before the recall was issued, Defendant received reports of overheating
                            5    and burning issues with the Products.
                            6          83.    The CPSC operates a website where consumers can post complaints
                            7    about unsafe products and provide details about any incidents they experienced.
                            8          84.    Online safety reports to the CPSC show that Defendant, knew or should
                            9    have known of the defect, yet it continued to sell the defective Products anyway.
                            10         85.    Per federal regulations, all safety reports that are submitted online
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                            11   through the CPSC website are sent directly to the product’s manufacturer and
                            12   retailers. Defendant also monitored safety complaints from the CPSC, and thus
                            13   Defendant would have independently become aware of each safety report referenced
                            14   herein separate and apart from noticed received from the CPSC.
                            15         86.    In total, Defendant received numerous reports of the Product
                            16   overheating and burning users of the Product. This is an unusually high number of
                            17   complaints for a product, and the unusually high number of complaints here put
                            18   Defendant on notice of the Product Defect. The similarity of complaints also would
                            19   have put Defendant on notice that the complaints were not the result of user error or
                            20   anomalous incidents, but instead were the result of a systemic problem with the
                            21   Product.
                            22         87.    Defendant not only was passively sent these complaints but also actively
                            23   responded to consumers with boilerplate, standardized language that concealed the
                            24   defect, and in many instances blamed the consumer by claiming that it wasn’t a
                            25   defect in the Product but rather a personal hygiene issue involving the customer.
                            26         88.    Every time the CPSC’s website describes a consumer complaint, the
                            27   website also discloses the date when CPSC sent that complaint to the manufacturer.
                            28   This is separate from the portion of the safety complaint where the consumer states

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                            1    whether he or she independently contacted the manufacturer. As alleged above, the
                            2    above-referenced complaints were sent to Defendant by the CPSC shortly after being
                            3    submitted to the CPSC.
                            4          89.   For each of the following reasons, Defendant’s management knew or
                            5    should have known about the complaints referenced above as soon as they began
                            6    appearing on the CPSC website:
                            7                a.   Defendant was repeatedly contacted directly by consumers and by
                            8                     the CPSC about the Product Defect.
                            9                b.   The CPSC website is a government-run repository for complaints
                            10                    about safety-related defects, and many of Defendant’s Products
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                            11                    appear on the website. The CPSC website can provide businesses
                            12                    with early warnings of product defects, and monitoring reports is
                            13                    easy because users can search for reports by company names. Hence,
                            14                    it required negligible effort for Defendant’s management and other
                            15                    personnel to visit the CPSC website and view a list of reports of
                            16                    safety incidents related to the Products, including reports about the
                            17                    Product Defect at issue here.
                            18               c.   Defendant knows about the CPSC’s website because it is a high-
                            19                    profile government agency that deals with complaints of numerous
                            20                    products manufactured, distributed, and sold by Defendant, and
                            21                    because Defendant would have been contacted directly each time a
                            22                    consumer complained to the CPSC.
                            23               d.   Defendant also knew or should have known about the Defect
                            24                    because of the similarity of complaints. The fact that so many
                            25                    customers made similar complaints indicates that the complaints
                            26                    were not the result of user error or anomalous incidents, but instead
                            27                    a systemic problem with the products at issue here. The reports and
                            28                    complaints from consumers also put Defendant on notice that the

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                            1                     Products were experiencing unusually high levels of complaints
                            2                     about the Product Defect at issue here, especially when compared to
                            3                     other smartwatches.
                            4          90.    Defendant received numerous customer complaints before the named
                            5    Plaintiffs purchased their Products.
                            6          91.    Defendant responded to numerous customer complaints before the
                            7    named Plaintiffs purchased their Products.
                            8          92.    Defendant also would have had notice of the Product Defect as a result
                            9    of direct customer complaints and product returns.
                            10         93.    At a minimum, information from customer returns, complaints directly
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                            11   to Defendant, and information obtained from the CPSC, whether alone or in the
                            12   aggregate, would have put Defendant on notice of the defect. Nonetheless, Defendant
                            13   failed to recall any of the Products until March 2022, putting innumerable consumers
                            14   at risk in the meantime.
                            15         94.    Moreover, Defendant tried to present the Fitbit Ionic – a smartwatch
                            16   that has not been manufactured since 2020 nor sold since December 2021 – as the
                            17   scapegoat for all of the Products, and as a result, continues to expose innumerable
                            18   consumers to the risks associated with the Defect.
                            19

                            20         G.     Defendant’s Present Denial of the Defect
                            21         95.    Despite having knowledge of the Defect, up until March 2022, Defendant
                            22   has denied the existence of the Defect.
                            23         96.    Even then, it merely casts blame on a single long-discontinued model.
                            24         97.    When consumers contact Defendant in an attempt to obtain a remedy,
                            25   the Defendant continues the long-used Fitbit “hygiene” excuse that attempts to shift
                            26   blame onto the consumer:
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                            1                a.    In 2014:32
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                            10               b.    In 2015:33
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                            17               c.    In 2016:34
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                                 32 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20140123-
                            25   0C6ED-2147447910 (Jan. 23, 2014),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1383464.
                            26   33 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20150925-191ED-
                                 2147428066 (Sep. 25, 2015),
                            27   https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1519728.
                                 34 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20160122-39D00-
                            28   2147424426 (Jan. 23, 2016),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1547805.
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                                                   d.    In 2017:35
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                                                   e.    In 2018:36
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                                                   f.    In 2019:37
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                                 35 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20170212-35CC3-
                            25   2147407171 (Feb. 12, 2017),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1632711.
                            26   36 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20180210-CC379-
                                 2147393004 (Feb. 10, 2018),
                            27   https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1734514.
                                 37 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20190426-E82B1-
                            28   2147381368 (Apr. 26, 2019),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1866802.
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                                                   g.    In 2020:38
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                                                   h.    In 2021:39
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                                                   i.    In 2022:40
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                                 38 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20200428-
                            25   BC67C-2147372667 (April. 28, 2020),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1975780.
                            26   39 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20210429-A7930-
                                 2147364422 (April 29, 2021),
                            27   https://www.saferproducts.gov/PublicSearch/Detail?ReportId=3239980.
                                 40 U.S. CONSUMER PRODUCT SAFETY COMMISSION, Report # 20220311-F1E3F-
                            28   2147357272 (Mar. 11, 2022),
                                 https://www.saferproducts.gov/PublicSearch/Detail?ReportId=3625082.
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                            1          98.    This denial and shifting blame to harmed consumers is ever present in
                            2    Defendant’s responses to the burn injuries caused by its Products:
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                            19         99.    As shown above, the response involves slight variations on the same
                            20   theme. Despite, “a very limited number of consumers” being impacted by a problem
                            21   that can be solved by better hygiene, the company’s advice has failed to stop the flood
                            22   of consumers that are burned by the Products.
                            23         100.   Simply, same problem, same response, and same outcome: continued
                            24   denial by the company which exposes consumers to undue risks from the hidden
                            25   Defect.
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                                       H.      Plaintiffs and Class Members Have Suffered Economic Injury
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                                       101.    Plaintiffs and the Class Members reasonably relied to their detriment on
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                                 Defendant’s deceptive and misleading representations and omissions concerning the
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                                 Products and the “recall.”
                            4
                                       102.    Defendant's false, misleading, and deceptive misrepresentations and
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                                 omissions are likely to continue to deceive and mislead reasonable consumers and the
                            6
                                 general public, as they have already deceived and misled the Plaintiffs and the Class
                            7
                                 Members.
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                                       103.    In making the false, misleading, and deceptive representations and
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                                 omissions described herein, Defendant knew and intended that consumers would pay
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                                 a premium for Products under the – false – belief that the Products were safe and
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                                 free of the Defect.
                            12
                                       104.    As an immediate, direct, and proximate result of Defendant's false,
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                                 misleading, and deceptive representations and omissions, Defendant injured the
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                                 Plaintiffs and the Class Members in that they:
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                                            a. Paid a sum of money for Products that were not what Defendant
                            16
                                               represented;
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                                            b. Paid a premium price for Products that were not what Defendant
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                                               represented;
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                                            c. Were deprived of the benefit of the bargain because the Products they
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                                               purchased were different from what Defendant warranted; and
                            21
                                            d. Were deprived of the benefit of the bargain because the Products they
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                                               purchased had less value than what Defendant represented.
                            23
                                       105.    Had Defendant not made the false, misleading, and deceptive
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                                 representations and omissions, Plaintiffs and the Class Members would not have
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                                 been willing to pay the same amount for the Products they purchased, and,
                            26
                                 consequently, Plaintiffs and the Class Members would not have been willing to
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                                 purchase the Products.
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                            1          106.   Plaintiffs and the Class Members paid for Products that were believed to
                            2    be safe and free of the Defect but received Products that were unsafe and contained
                            3    the Defect. The products Plaintiffs and the Class Members received were worth less
                            4    than the Products for which they paid.
                            5          107.   Plaintiffs and the Class Members all paid money for the Products.
                            6    However, Plaintiffs and the Class Members did not obtain the full value of the
                            7    advertised Products due to Defendant's misrepresentations and omissions. Plaintiffs
                            8    and the Class Members purchased, purchased more of, and/or paid more for, the
                            9    Products than they would have had they known the truth about the Products.
                            10   Consequently, Plaintiffs and the Class Members have suffered injury in fact and lost
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                            11   money as a result of Defendant's wrongful conduct.
                            12
                                          TOLLING AND ESTOPPEL OF STATUTE OF LIMITATIONS
                            13

                            14         108.   Any applicable statute of limitations has been tolled by Defendant’s
                            15   knowing and active concealment of the presence of the Defect in the Products and the
                            16   misrepresentations and omissions alleged herein. Through no fault or lack of
                            17   diligence, Plaintiffs and Class Members were deceived regarding the Products and
                            18   could not reasonably discover that they suffered the Defect.
                            19         109.   Plaintiffs and Class Members did not discover and did not know of any
                            20   facts that would have caused a reasonable person to expect that the Defendant was
                            21   concealing the presence of the Defect in the Products. As alleged herein, the presence
                            22   of the Defect was material to Plaintiffs and Class Members at all relevant times.
                            23   Within the time period of any applicable statute of limitations, Plaintiffs and
                            24   Members of the Class would not have discovered through the existence of reasonable
                            25   diligence that the Products contained the Defect.
                            26         110.   At all times, Defendant is and was under a continuous duty to disclose to
                            27   Plaintiffs and the Class the true standard, quality, and grade of the Products and to
                            28   disclose the presence of the Defect due to its exclusive and superior knowledge of the

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                            1    contents, materials, and engineering for the Products. Additionally, the Defendant
                            2    has exclusive and superior knowledge concerning the scale of the Defect, the number
                            3    of people harmed by the Defect, and the presence of the Defect in all of its Products.
                            4           111.   Defendant knowingly, actively, and affirmatively concealed the facts
                            5    alleged herein. Plaintiffs and Class Members reasonably relied on Defendant’s
                            6    knowing, active, and affirmative concealment.
                            7           112.   For these reasons, all applicable statutes of limitation have been tolled
                            8    based on the discovery rule and Defendant’s fraudulent concealment, and Defendant
                            9    is estopped from relying on any statues of limitations in defense of this action.
                            10
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                            11                              CLASS ACTION ALLEGATIONS
                                        113.   Plaintiffs bring this action as a class action pursuant to Federal Rule of
                            12

                            13   Civil Procedure 23 on behalf of themselves, on behalf of all others similarly situated,

                            14   and as a member of the Classes defined as follows (collectively, the “Classes” or
                            15
                                 “Class”):
                            16
                                               a. Multi-State Consumer Class: All persons in the States of California,
                            17
                                                  Florida, Illinois, Massachusetts, Minnesota, Missouri, New Jersey,
                            18

                            19                    New York, Pennsylvania, Oregon, and Washington who purchased

                            20                    the Products.41
                            21

                            22

                            23

                            24

                            25   41 The States in the Multi-State Consumer Class are limited to those States with similar
                                 consumer protection laws under the facts of this case: California (Cal. Bus. & Prof. Code §
                            26   17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 ILCS 505/1, et seq.);
                                 Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws §
                            27   445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat.
                                 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law
                            28   § 349, et seq.); Pennsylvania (73 Pa. Stat. Ann. §§ 201-1 et seq.); Oregon (Or. Rev. Stat.
                                 §§ 646.605, et seq.); and Washington (Wash Rev. Code § 19.86.010, et seq).
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                                              b.   California Class: All persons who purchased Defendant’s Product
                            1

                            2                      within the State of California and within the applicable statute of

                            3                      limitations.
                            4
                                              c.   Pennsylvania Class: All persons who purchased Defendant’s Product
                            5
                                                   within the Commonwealth of Pennsylvania and within the
                            6
                                                   applicable statute of limitations.
                            7

                            8                 d.   Nationwide Class: All persons who purchased Defendant’s Product

                            9                      within the United States and within the applicable statute of
                            10
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                                                   limitations period.
                            11
                                       114.   Excluded from the Class are Defendant, their parents, subsidiaries,
                            12
                                 affiliates, officers, and directors, those who purchased the Products for resale, all
                            13

                            14   persons who make a timely election to be excluded from the Class, the judge to whom

                            15   the case is assigned and any immediate family members thereof.
                            16
                                       115.   The members of the Class are so numerous that joinder of all Class
                            17
                                 Members is impracticable. Defendant has sold, at a minimum, millions of units of the
                            18
                                 Products to Class Members.
                            19

                            20         116.   There is a well-defined community of interest in the questions of law and

                            21   fact involved in this case. Questions of law and fact common to the members of the
                            22
                                 putative classes that predominate over questions that may affect individual Class
                            23
                                 Members include, but are not limited to the following:
                            24

                            25                a.     whether Defendant misrepresented material facts concerning the

                            26                       Products on the label of every product;

                            27                b.     whether Defendant’s conduct was unfair, misleading, and/or
                            28
                                                     deceptive;

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                                              c.     whether Defendant has been unjustly enriched as a result of the
                            1

                            2                        unlawful, fraudulent, and unfair conduct alleged in this

                            3                        Complaint such that it would be inequitable for Defendant to
                            4
                                                     retain the benefits conferred upon it by Plaintiffs and the Classes;
                            5
                                              d.     whether Plaintiffs and the Classes are entitled to equitable and/or
                            6
                                                     injunctive relief;
                            7

                            8                 e.     whether Defendant breached warranties to Plaintiffs and the

                            9                        Classes;
                            10
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                                              f.     whether Plaintiffs and the Classes have sustained damages with
                            11
                                                     respect to the common-law claims asserted, and if so, the proper
                            12
                                                     measure of their damages.
                            13

                            14         117.   Plaintiffs’ claims are typical of those of other Class Members because

                            15   Plaintiffs, like all members of the Classes, purchased Defendant’s Products
                            16
                                 containing the same Defect, and suffering from the same representations and
                            17
                                 omissions, and Plaintiffs sustained damages from Defendant’s wrongful conduct.
                            18
                                       118.   Plaintiffs will fairly and adequately protect the interests of the classes
                            19

                            20   and have retained counsel that is experienced in litigating complex class actions.

                            21   Plaintiffs have no interests which conflict with those of the classes.
                            22
                                       119.   A class action is superior to any other available means for the fair and
                            23
                                 efficient adjudication of this controversy, and no unusual difficulties are likely to be
                            24

                            25   encountered in the management of this class action. The damages or other financial

                            26   detriment suffered by Plaintiffs and the other Class Members are relatively small

                            27   compared to the burden and expense that would be required to individually litigate
                            28
                                 their claims against Defendant, making it impracticable for Class Members to

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                                 individually seek redress for Defendant’s wrongful conduct. Even if Class Members
                            1

                            2    could afford individual litigation, the court system could not. Individualized litigation

                            3    creates a potential for inconsistent or contradictory judgments, and increases the
                            4
                                 delay and expense to all parties and the court system. By contrast, the class action
                            5
                                 device presents far fewer management difficulties, and provides the benefits of single
                            6
                                 adjudication, economies of scale, and comprehensive supervision by a single court.
                            7

                            8             120.   The prerequisites to maintaining a class action for equitable relief are

                            9    met as Defendant has acted or refused to act on grounds generally applicable to the
                            10
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                                 classes, thereby making appropriate equitable relief with respect to the classes as a
                            11
                                 whole.
                            12
                                          121.   The prosecution of separate actions by members of the classes would
                            13

                            14   create a risk of establishing inconsistent rulings and/or incompatible standards of

                            15   conduct for Defendant. For example, one court might enjoin Defendant from
                            16
                                 performing the challenged acts, whereas another might not. Additionally, individual
                            17
                                 actions could be dispositive of the interests of the classes even where certain Class
                            18
                                 Members are not parties to such actions.
                            19

                            20            122.   For the purposes of this Complaint, the term “Class Members” refers to

                            21   all members of the Class, including the Plaintiffs.
                            22
                                          123.   This action is maintainable as a class action under Federal Rule of Civil
                            23
                                 Procedure Rule 23.
                            24

                            25            124.   This Court should certify a class under Rule 23(b)(2) because Defendant

                            26   has acted or refused to act on grounds that apply generally to the Class, by making

                            27   illegal, unfair, misleading and deceptive representations and omissions regarding
                            28
                                 Products.

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                                       125.      This Court should certify a class under Rule 23(b)(3) because the
                            1

                            2    common issues identified above predominate over any questions affecting individual

                            3    members and a class is superior to other available methods to fairly and efficiently
                            4
                                 adjudicate the claims.
                            5
                                       126.      Notice to the Class. Plaintiffs anticipate that this Court can direct
                            6
                                 notice to the Class, to be effectuated by publication in major media outlets and the
                            7

                            8    Internet.

                            9
                                                                          COUNT I
                            10
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                                                   Violation of State Consumer Protection Statutes
                            11
                                                       (On Behalf of the Multi-State Consumer Class)
                            12
                                       127.      Plaintiffs repeat and reallege each and every allegation above as if set
                            13
                                 forth herein.
                            14
                                       128.      The Consumer Protection Acts of the States in the Multi-State
                            15
                                 Consumer Class prohibit the use of unfair or deceptive business practices in the
                            16
                                 conduct of trade or commerce.
                            17
                                       129.      Defendant intended that Plaintiffs and the other members of the Multi-
                            18
                                 State Consumer Class would rely upon their deceptive conduct, and a reasonable
                            19
                                 person would in fact be misled by its deceptive conduct.
                            20
                                       130.      As a result of the Defendant’s use or employment of unfair or deceptive
                            21
                                 acts or business practices, Plaintiffs, and other members of Multi-State Consumer
                            22
                                 Class, have sustained damages in an amount to be proven at trial.
                            23

                            24

                            25

                            26

                            27

                            28

                                                                             – 40 –
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                                                                           COUNT II
                            1
                                     Violation of California Business & Professions Code §§ 17200 et seq. –
                            2
                                                         Unlawful Conduct Prong of the UCL
                            3
                                                           (On Behalf of the Nationwide Class)
                            4
                                       131.   Plaintiffs incorporate by reference all allegations contained in the
                            5
                                 complaint as if fully set forth herein.
                            6
                                       132.   The acts, omissions, misrepresentations and practices of Defendant
                            7
                                 constitute “unlawful” business acts and practices under the California Business &
                            8
                                 Professions Code section 17200 (“UCL”).
                            9
                                       133.   Defendant’s acts, omissions, misrepresentations and practices are
                            10
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                                 “unlawful” because they violate the California False Advertising Law (“FAL”), the
                            11
                                 Magnuson-Moss Warranty Act (“MMWA”) and the Consumer Legal Remedies Act
                            12
                                 (“CLRA”).
                            13
                                       134.   Defendant’s representations and omissions that the Products are
                            14
                                 adequate and safe are false, deceptive, and likely to deceive the public.
                            15
                                       135.   Defendant’s deceptive advertising caused Plaintiffs and members of the
                            16
                                 Class to suffer injury in fact and to lose money or property, as it denied them the
                            17
                                 benefit of the bargain when they decided to make their purchases over other products
                            18
                                 that are less expensive and without the harmful and dangerous effects of the
                            19
                                 Products.
                            20
                                       136.   In accordance with California Business & Professions Code section
                            21
                                 17203, Plaintiffs seek an order enjoining Defendant from continuing to conduct
                            22
                                 business through unfair acts and practices and to commence a corrective advertising
                            23
                                 campaign.
                            24
                                       137.   Plaintiffs also seek an order for the disgorgement and restitution of all
                            25
                                 monies from the sale of the Products that were unjustly acquired through acts of
                            26
                                 unlawful, unfair and/or fraudulent competition.
                            27

                            28

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                                                                       COUNT III
                            1
                                     Violation of California Business & Professions Code §§ 17200, et seq. –
                            2
                                                Unfair and Fraudulent Conduct Prongs of the UCL
                            3
                                                            (On Behalf of the Nationwide Class)
                            4

                            5          138.    Plaintiffs incorporate by reference all the allegations of the preceding
                            6    paragraphs.
                            7          139.    California Business & Professions Code section 17200 prohibits any
                            8    unfair or fraudulent business act or practice.
                            9          140.    The false and misleading marketing, advertising, and labeling of the
                            10   Products, as alleged herein, constitute unfair business acts and practices because
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                            11   such conduct is immoral, unscrupulous, and offends public policy.
                            12         141.    The acts, omissions, misrepresentations, practices, and non-disclosures
                            13   constitute “fraudulent” business acts and practices, because Defendant’s conduct is
                            14   false and misleading to Plaintiffs and Class Members.
                            15         142.    Further, the gravity of Defendant’s conduct outweighs any conceivable
                            16   benefit of such conduct.
                            17         143.    Defendant’s advertising, communications, packaging, and marketing of
                            18   the Products is likely to deceive Class Members about their safety.
                            19         144.    Defendant either knew or reasonably should have known that the claims
                            20   and statements in the advertising, marketing, and labeling were likely to deceive
                            21   consumers.
                            22         145.    In accordance with California Business & Professions Code section
                            23   17203, Plaintiffs seek an order enjoining Defendant from continuing to conduct
                            24   business through unfair and/or fraudulent acts and practices and to commence a
                            25   corrective advertising campaign.
                            26         146.    Plaintiffs seek an order for the disgorgement and restitution of all
                            27   monies from the sale of the smartwatches that were unjustly acquired through acts of
                            28   unlawful, unfair and/or fraudulent competition.

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                            1
                                                                        COUNT IV
                            2
                                     Violation of California Business & Professions Code §§ 17500, et seq. –
                            3
                                                          False and Misleading Advertising
                            4
                                                           (On Behalf of the Nationwide Class)
                            5
                                       147.    Plaintiff incorporates by reference all preceding paragraphs.
                            6
                                       148.    California False Advertising Law (Cal. Business & Professions Code
                            7
                                 sections 17500 and 17508) prohibits “mak[ing] any false or misleading advertising
                            8
                                 claim.”
                            9
                                       149.    Google, in its advertising, marketing, and labeling of the Products,
                            10
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                                 makes false and misleading advertising claims as it deceives consumers as to their
                            11
                                 safety.
                            12
                                       150.    In reliance on these false and misleading advertising claims, Plaintiffs
                            13
                                 and members of the Nationwide Class purchased and used the smartwatches without
                            14
                                 the knowledge they caused, or greatly increased the risk of, serious injury or death, to
                            15
                                 users of the Products.
                            16
                                       151.    Defendant knew or should have known that its labeling, advertising,
                            17
                                 and marketing was likely to deceive consumers.
                            18
                                       152.    As a result, Plaintiffs and the Class are entitled to injunctive and
                            19
                                 equitable relief, restitution, and an order for the disgorgement of the funds by which
                            20
                                 Google was unjustly enriched.
                            21

                            22
                                                                        COUNT V
                            23                Violation of California’s Consumers Legal Remedies Act
                            24                               CAL. CIV. CODE § 1750 et seq.
                            25                               (Seeking Injunctive Relief Only)

                            26             (In the Alternative to Count I and on Behalf of the California Class)

                            27         153.    Plaintiff Ramirez incorporates by reference and re-alleges herein all
                            28   paragraphs alleged above.

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                            1          154.   Plaintiff Ramirez brings this claim individually and on behalf of the
                            2    members of the proposed Classes against Defendant.
                            3          155.   This claim seeks injunctive relief only, pursuant to California Civil Code
                            4    section 1782(d).
                            5          156.   Defendant’s actions, representations, and conduct have violated, and
                            6    continue to violate, the CLRA because they extend to transactions that are intended
                            7    to result, or that have resulted, in the sale of goods to consumers.
                            8          157.   Plaintiff Ramirez and the California Class members are “consumers” as
                            9    the CLRA defines that term in California Civil Code section 1761(d).
                            10         158.   Defendant sold the Products, which are “goods” within the meaning of
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                            11   California Civil Code section 1761(a), to Plaintiff Ramirez and the California Class
                            12   members.
                            13         159.   Defendant’s policies, acts, and practices were designed to, and did, result
                            14   in Plaintiff Ramirez and the California Class members’ purchase and use of the
                            15   Products primarily for personal, family, or household purposes, and violated and
                            16   continue to violate the following sections of the California Civil Code section 1770:
                            17                a.     section 1770(a)(5), which prohibits representing that goods or
                            18                       services have sponsorship, approval, characteristics, ingredients,
                            19                       uses, benefits, or quantities which they do not have;
                            20                b.     section 1770(a)(7), which prohibits representing that goods or
                            21                       services are of a particular standard, quality, or grade, or that
                            22                       goods are of a particular style or model, if they are of another;
                            23                c.     section 1770(a)(9), which prohibits advertising goods or services
                            24                       with intent not to sell them as advertised; and
                            25                d.     section 1770(a)(16), which prohibits representing that the subject
                            26                       of a transaction has been supplied in accordance with a previous
                            27                       representation when it has not.
                            28

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                            1          160.   Defendant’s advertising, labeling, and marketing of the Products are
                            2    likely to deceive reasonable consumers, including Plaintiff Ramirez and the
                            3    California Class members. Defendant’s representations and omissions that the
                            4    Products are adequate and safe are false and likely to deceive the public, as is
                            5    Defendant’s failure to mention the numerous adverse events related to their usage.
                            6          161.   Plaintiff Ramirez and the California Class members would not have
                            7    purchased the Products absent Defendant’s misleading and deceptive marketing
                            8    campaign and labeling regarding the safety of the Products.
                            9          162.   Google knew or should have known that its Products’ advertising,
                            10   labeling, and marketing were likely to deceive reasonable consumers regarding the
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                            11   safety of the Products.
                            12         163.   Google’s deceptive representations and omissions about the Products
                            13   caused Plaintiff Ramirez and the members of the California Class to suffer injury in
                            14   fact and to lose money or property, as it denied them the benefit of the bargain when
                            15   they decided to make their Product purchases over other products that are less
                            16   expensive and without the harmful and dangerous effects of the Products.
                            17         164.   Plaintiff Ramirez and the California Class members request that this
                            18   Court enjoin Defendant from continuing to employ the unlawful methods, acts, and
                            19   practices alleged herein pursuant to California Civil Code section 1780(a)(2). If
                            20   Defendant is not restrained from engaging in these types of practices in the future,
                            21   Plaintiff Ramirez and the California Class members will be harmed in that they will
                            22   continue to be unable to rely on Defendant’s deceptive representations and omissions
                            23   regarding the safety of the Products.
                            24         165.   Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff Ramirez
                            25   provided notice to Defendant of its alleged violations of the CLRA, demanding that
                            26   Defendant correct such violations, and providing it with the opportunity to correct its
                            27   business practices. Notice was sent via certified mail, return receipt requested on
                            28   April 18, 2022. As of the date of filing this complaint, Defendant has not responded.

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                            1    Accordingly, if after 30 days no satisfactory response to resolve this litigation on a
                            2    class-wide basis has been received, Plaintiff will seek leave to amend this request to
                            3    seek restitution and actual damages as provided by the CLRA.
                            4
                                                                         COUNT VI
                            5
                                              Violation of Pennsylvania Unfair Trade Practices and
                            6
                                                        Consumer Protection Law (UTPCPL)
                            7
                                                                     73 P.S. § 201 et seq.
                            8
                                         (In the Alternative to Count I and on Behalf of the Pennsylvania Class)
                            9

                            10         166.   Plaintiff Houtchens incorporates by reference and re-alleges herein all
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                            11
                                 paragraphs alleged above.
                            12
                                       167.   Plaintiff Houtchens incorporates by reference all allegations contained
                            13
                                 in the complaint as if fully set forth herein.
                            14

                            15         168.   Defendant is a “person,” as meant by 73 Pa. Cons. Stat. § 201-2(2).

                            16         169.   Plaintiff Houtchens and Pennsylvania Class Members purchased goods
                            17
                                 and services in “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3),
                            18
                                 primarily for personal, family, and/or household purposes.
                            19
                                       170.   As alleged more fully above, Defendant engaged in unfair methods of
                            20
                            21   competition and unfair or deceptive acts or practices in the conduct of its trade and

                            22   commerce in violation of 73 Pa. Cons. Stat. § 201-3, including the following:
                            23
                                              a.     representing that its goods and services have characteristics,
                            24
                                                     uses, benefits, and qualities they do not have (73 Pa. Cons. Stat. §
                            25
                                                     201-2(4)(v));
                            26

                            27

                            28

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                                              b.    representing that its goods and services are of a particular
                            1

                            2                       standard or quality if they are another (73 Pa. Cons. Stat. § 201-

                            3                       2(v)(vii));
                            4
                                              c.    advertising its goods and services with intent not to sell them as
                            5
                                                    advertised (73 Pa. Cons. Stat. § 201-2(4)(ix)); and
                            6
                                              d.    engaging in any other fraudulent or deceptive conduct which
                            7

                            8                       creates a likelihood of confusion or of misunderstanding (73 Pa.

                            9                       Cons. Stat. § 201-2(v)(xxi)).
                            10
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                                       171.   Defendant’s representations and omissions were material because they
                            11
                                 were likely to deceive reasonable consumers.
                            12
                                       172.   As alleged more fully above, the representations and omissions
                            13

                            14   regarding the safety of the Products were misleading.

                            15         173.   Plaintiff Houtchens and members of the Pennsylvania class relied upon
                            16
                                 them in purchasing the Products.
                            17
                                       174.   As a direct and proximate result of Defendant’s deceptive acts and
                            18
                                 practices, Plaintiff Houtchens and the Pennsylvania Class have suffered and will
                            19

                            20   continue to suffer injury, ascertainable losses of money or property, and monetary

                            21   and non-monetary damages, including from not receiving the benefit of their bargain
                            22
                                 in purchasing the Products.
                            23
                                       175.   Plaintiff Houtchens and other members of the Pennsylvania Class lost
                            24

                            25   money or property as a result of Defendant’s violations because: (a) they would not

                            26   have purchased the Products on the same terms if they knew that the Products were

                            27   unsafe; (b) they paid a substantial price premium compared to other products due to
                            28

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                                 Defendant’s misrepresentations and omissions; and (c) the Products do not have the
                            1

                            2    quality, characteristics, uses, or benefits as promised.

                            3          176.   Plaintiff Houtchens and the Pennsylvania Class seek all monetary and
                            4
                                 non-monetary relief allowed by law, including actual damages or statutory damages
                            5
                                 of $100 (whichever is greater), treble damages, attorneys’ fees and costs, and any
                            6
                                 additional relief this Court deems necessary or proper.
                            7

                            8
                                                                        COUNT VII
                            9
                                                              Breach of Implied Warranty
                            10
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                                                            (On Behalf of the Nationwide Class)
                            11         177.   Plaintiffs incorporate by reference and re-allege herein all paragraphs
                            12   alleged above.
                            13         178.   Plaintiffs bring this claim individually and on behalf of the members of
                            14   the proposed Classes against Defendant.
                            15         179.   Defendant, as the marketer, distributor, and/or seller of the Products,
                            16   impliedly warranted that the Products (i) would not contain a safety-related defect
                            17   and (ii) was generally safe for consumer use.
                            18         180.   Defendant breached the warranty implied in the contract for the sale of
                            19
                                 the defective Products because it could not pass without objection in the trade under
                            20   the contract description, the Products were not of fair or average quality within the
                            21   description, and the Products were unfit for its intended and ordinary purpose
                            22   because the Products were defective in that it contained a defect that made the
                            23   Products unreasonably dangerous, and as such is not generally recognized as safe for
                            24   consumer use. As a result, Plaintiffs and Class Members did not receive the goods as
                            25   impliedly warranted by Defendant to be merchantable.
                            26         181.   In addition, Plaintiffs and Class Members were harmed because the
                            27   Products failed almost immediately after Plaintiffs and Class Members purchased the
                            28   product, a period far shorter than the implied warranty.

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                            1          182.   Defendant was on notice of the Defect because it has exclusive
                            2    knowledge.
                            3          183.   Defendant was also on notice of the Defect because of numerous
                            4    complaints filed with the federal government and distributed to Defendant.
                            5          184.   Additionally, Plaintiffs each sent notice of these breaches via US Postal
                            6    service.
                            7          185.   Plaintiffs and Class Members purchased the Products in reliance upon
                            8    Defendant’s skill and judgment and the implied warranties of fitness for the purpose.
                            9          186.   The Products were not altered by Plaintiff or Class Members.
                            10         187.   The Products were defective when it left the exclusive control of
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                            11   Defendant.
                            12         188.   Defendant knew that the Products would be purchased and used without
                            13   additional testing by Plaintiffs and Class Members.
                            14         189.   The Products were defectively manufactured and unfit for their intended
                            15   purpose, and Plaintiffs and Class Members did not receive the goods as warranted.
                            16         190.   Privity is not required as to Defendant because the Products contained a
                            17   dangerous design defect (i.e., the ability of the Product to overheat and pose a hazard
                            18   to users). As the known end purchaser, Plaintiffs is also a third-party beneficiary of
                            19   the implied warranty of merchantability.
                            20         191.   Defendant’s attempts to disclaim or limit the implied warranty of
                            21   merchantability vis-à-vis consumers are unconscionable and unenforceable.
                            22   Specifically, Defendant’s warranty limitations are unenforceable because Defendant
                            23   knowingly sold a defective product without informing consumers about the defects.
                            24         192.   The time limits contained in Defendant’s warranty period were also
                            25   unconscionable and inadequate to protect Plaintiffs and the Class Members. Among
                            26   other things, Plaintiffs and members of the Class had no meaningful choice in
                            27   determining these time limitations, terms which unreasonably favor Defendant. A
                            28   gross disparity in bargaining power existed between Defendant and Class Members,

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                            1    as only Defendant knew or should have known that the Products were defective at
                            2    the time of sale and that the devices were not of merchantable quality.
                            3             193.   Plaintiffs and Class Members have complied with all obligations under
                            4    the warranty or otherwise have been excused from performance of said obligations as
                            5    a result of Defendant’s conduct described herein.
                            6             194.   As a direct and proximate cause of Defendant’s breach of the implied
                            7    warranty, Plaintiffs and Class Members have been injured and harmed because: (a)
                            8    they would not have purchased the Products on the same terms if they knew that the
                            9    Products contained the defect, making it unsafe for consumer use; and (b) the
                            10   Products does not have the characteristics, uses, or benefits as promised by
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                            11   Defendant.
                            12                                           COUNT VIII
                            13                       Violation Of The Magnuson-Moss Warranty Act,
                            14                                     15 U.S.C. §§ 2301, et seq
                            15                                (On Behalf of the Nationwide Class)
                            16            195.   Plaintiffs incorporate by reference and re-allege herein all paragraphs
                            17   alleged above.
                            18            196.   Plaintiffs bring this claim individually and on behalf of the members of
                            19   the proposed Classes against Defendant.
                            20            197.   The Products are consumer products as defined in 15 U.S.C. § 2301.
                            21            198.   Plaintiffs and the Class Members are consumers as defined in 15 U.S.C.
                            22   § 2301.
                            23            199.   Defendant is a supplier and warrantor as defined in 15 U.S.C. § 2301.
                            24            200.   In connection with the marketing and sale of the Products, Defendant
                            25   impliedly warranted that the Products was fit for use as a smartwatch. The Products
                            26   were not fit for use as a smartwatch due to the defect described in the allegations
                            27   above.
                            28

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                            1          201.   By reason of Defendant’s breach of warranties, Defendant violated the
                            2    statutory rights due to Plaintiffs and the Class Members pursuant to the Magnuson-
                            3    Moss Warranty Act, 15 U.S.C. §§ 2301, et seq., thereby damaging Plaintiffs and the
                            4    Class Members.
                            5          202.   Plaintiffs and the Class Members were injured as a direct and proximate
                            6    result of Defendant’s breach because they would not have purchased the Products if
                            7    they knew the truth about the defective nature of the Products.
                            8          203.   Despite notice by Plaintiffs and the Class Members to Defendant of the
                            9    defective nature of the Products, Defendant did not replace or repair the defective
                            10   Products. Instead, the costs of the defects were borne by consumers.
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                            11         204.   As a direct and proximate result of Defendant’s breach of implied and
                            12   express warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and Class Members
                            13   have suffered damages in an amount to be proven at trial.
                            14         205.   The amount in controversy for the Plaintiffs’ and Class Members’
                            15   individual claims meets or exceeds the sum of $25. The total amount in controversy of
                            16   this action in sum exceeds $50,000, exclusive of interest and costs, computed on the
                            17   basis of all claims to be determined in this lawsuit.
                            18         206.   Plaintiffs and Class Members are entitled to recover damages as a result
                            19   of Defendant’s breach of warranties.
                            20         207.   Plaintiffs and Class Members are also entitled to seek costs and
                            21   expenses, including attorneys’ fees, under the MMWA. 15 U.S.C. § 2310(d)(2).
                            22

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                            1
                                                                       COUNT IX
                            2
                                                                  Unjust Enrichment
                            3
                                                          (On Behalf of the Nationwide Class)
                            4
                                       208.   Plaintiffs incorporate by reference and re-alleges herein all paragraphs
                            5
                                 alleged above.
                            6
                                       209.   Plaintiffs bring this claim individually and on behalf of the members of
                            7
                                 the proposed Classes against Defendant.
                            8
                                       210.   “Although there are numerous permutations of the elements of the
                            9
                                 unjust enrichment cause of action in the various states, there are few real differences.
                            10
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                                 In all states, the focus of an unjust enrichment claim is whether the defendant was
                            11
                                 unjustly enriched. At the core of each state’s law are two fundamental elements—the
                            12
                                 defendant received a benefit from the plaintiff and it would be inequitable for the
                            13
                                 defendant to retain that benefit without compensating the plaintiff. The focus of the
                            14
                                 inquiry is the same in each state.” In re Mercedes-Benz Tele Aid Contract Litig., 257
                            15
                                 F.R.D. 46, 58 (D.N.J. Apr. 24, 2009) (quoting Powers v. Lycoming Engines, 245 F.R.D.
                            16
                                 226, 231 (E.D. Pa. 2007)).
                            17
                                       211.   At all times relevant hereto, Defendant deceptively marketed,
                            18
                                 advertised, and sold merchandise to Plaintiffs and the Classes.
                            19
                                       212.   The Products purchased by Plaintiffs and the Class Members did not
                            20
                                 provide the promised performance and instead contained uniform defects.
                            21
                                       213.   Plaintiffs and Class Members conferred a benefit on Defendant by
                            22
                                 purchasing the Products and by paying a price premium for them.
                            23
                                       214.   Defendant has knowledge of such benefits.
                            24
                                       215.   Defendant has been unjustly enriched in retaining the revenues derived
                            25
                                 from Class Members’ purchases of the Product, which retention under these
                            26
                                 circumstances is unjust and inequitable because Defendant misrepresented that the
                            27
                                 Product (i) would not contain a dangerous defect and (ii) is generally recognized as
                            28
                                 safe for use as a smartwatch. This misrepresentation caused injuries to Plaintiffs and
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                            1    Class Members because they would not have purchased the Products if the true facts
                            2    regarding the Products were known.
                            3          216.   Because Defendant’s retention of the non-gratuitous benefit conferred on
                            4    it by Plaintiffs and Class Members is unjust and inequitable, Defendant must pay
                            5    restitution to Plaintiffs and the Class Members for their unjust enrichment, as
                            6    ordered by the Court.
                            7

                            8                                   PRAYER FOR RELIEF
                            9          WHEREFORE, Plaintiffs, on behalf of themselves and other members of the
                            10   proposed Class herein, prays for judgment and relief on all of the legal claims as
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                            11   follows:
                            12
                                       A.     Certification of the Class, certifying Plaintiffs as representatives of the
                            13
                                              Class, and designating Plaintiffs’ counsel for the Class;
                            14
                                       B.     A declaration that Defendant has committed the violations alleged
                            15                herein;
                            16
                                       C.     A declaration that Defendant has committed that Defendant’s actions
                            17                are fraudulent, deceptive, and misleading as alleged herein;

                            18         D.     For restitution and disgorgement pursuant to, without limitation, the
                                              California Business & Professions Code §§ 17200, et seq. and Cal Civ.
                            19
                                              Code § 1780;
                            20
                                       E.     For declaratory and injunctive relief pursuant to, without limitation, the
                            21                California Business & Professions Code §§ 17200, et seq. and 17500, et
                                              seq.;
                            22

                            23         F.     An award of compensatory damages, the amount of which is to be
                                              determined at trial;
                            24
                                       G.     For punitive damages;
                            25

                            26         H.     For interest at the legal rate on the foregoing sums;

                            27         I.     For statutory damages;
                            28
                                       J.     For attorneys’ fees;

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                            1
                                      K.    For costs of suit incurred; and
                            2
                                      L.    For such further relief as this Court may deem just and proper.
                            3

                            4

                            5                                 JURY TRIAL DEMAND

                            6         Plaintiffs demand a jury trial on all causes of action so triable.

                            7    Dated: April 29, 2022
                                                                        Good Gustafson Aumais LLP
                            8
                            9                                           /s/ Christopher T. Aumais
                                                                        Christopher T. Aumais (Cal. Bar No.
                            10                                          249901)
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                                                                        *Pro hac vice forthcoming
                            24

                            25                                          Counsel for Plaintiffs and the Proposed Class

                            26

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